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                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS


                            CIVIL ACTION NO. 12-12016-RWZ


                                BARRY K. WINTERS, et al.

                                              v.

                          OCEAN SPRAY CRANBERRIES, INC.


                                          ORDER


                                     January 23, 2020



ZOBEL, S.D.J.

       The parties have filed a bevy of motions pertaining to discovery disputes and

plaintiffs’ request to amend the complaint.

       Discovery

       The first submission in the discovery series is plaintiffs’ motion to compel

defendant to produce documents withheld on the basis of privilege (Docket #355) which

was accompanied by a motion for leave to file it under seal (Docket #356). Defendant

responded with an opposition (Docket #364) and a motion to enforce the protective

order (Docket #366).

       Although defendant correctly describes the provisions of the protective order,

plaintiffs did attempt to maintain the confidentiality of the documents by filing their

motion under seal. In any event, the most appropriate resolution of this dispute is an

order to submit the contested documents for an in camera review. Accordingly, ruling
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on plaintiffs’ motion to compel is deferred, the motion to seal is allowed, and defendant’s

motion to enforce the protective order is allowed to the extent of this order.

       On or before February 7, 2020, the parties shall submit for review by the court

the contested discovery documents with a one sentence explanation by each side for

each document or each series of related documents.

       Motion to Amend Complaint

       This series begins with plaintiffs’ motion for leave to amend the complaint to

conform to the evidence adduced in discovery (Docket #357) together with a motion to

file the pleading under seal (Docket #358). Defendant opposed (Docket #362),

plaintiffs sought leave to file a reply memorandum (Docket #367) and then defendant

filed an emergency motion for hearing (Docket #368).

       The motion for leave to amend the complaint (Docket #357) is denied because it

is untimely.

       Plaintiffs’ motion to seal (Docket #358) is denied as moot. Their motion to file a

reply is allowed. Defendant’s emergency motion for hearing (Docket #368) is denied

as moot.




     January 23, 2020                                /s/ Rya W. Zobel
       DATE                                          RYA W. ZOBEL
                                          SENIOR UNITED STATES DISTRICT JUDGE
